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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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Case 19-20092   Doc 1-1 Filed 03/04/19 Entered 03/04/19 14:49:56   Desc
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